
Potter, J.
This is an appeal from a judgment at special term in favor of plaintiff.
This case presents the same question dependent upon the same evidence as to want of a test upon the paper signed by Mrs. Ferris to Mr. Rowe, and purporting to be a deed of the premises in question, as the case of Todd against same defendant (ante, p. 449), and the two cases were argued at the same time.
Having affirmed the judgment in the Todd case, the judgment in this case must be affirmed for the reasons stated in the opinion in that case.
This conclusion would render it quite unnecessary to examine or express any opinion upon the other question involved in this case, arising upon the alleged insufficiency of the foreclosure proceedings upon the part of the defendant herein, to bar the claims of one Clarke, and especially of Mrs. Sanford, upon said premises. If it were necessary to pass upon that question, I should be of the opinion that the holding of the trial court was Qorrect in that respect.
Lawrence, J., concurs.
